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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                          :
                                          :
ROBERT WHARTON,                           :   CIVIL ACTION
                                          :
                     Petitioner,          :   No. 01-6049
                                          :
               v.                         :   CAPITAL CASE
                                          :
DONALD T. VAUGHN, et al.,                 :
                                          :
                     Respondents.         :



           OBJECTION TO ATTORNEY GENERAL’S DE FACTO
                   INTERVENTION AS A PARTY

      This is a capital case based on a 1984 murder in Philadelphia that the

Philadelphia District Attorney’s Office (DAO) has prosecuted for over thirty-five

years. After one day of evidentiary hearings in this case (February 25, 2021), one

thing has become perfectly clear: what began as a request for the views of an amicus

has now morphed into the Pennsylvania Attorney General (AG) becoming a full-

blown party to the litigation, in fact superseding the DAO’s prosecution without

legal authority to do so.

      The DAO did not object to the Court’s request for the AG’s amicus

participation because the Court has the authority to seek briefing from an amicus to
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assist with legal questions. What the DAO did not anticipate was the extent to which

the AG ultimately would participate. The AG’s role has now expanded to the point

that it is impermissibly acting as the de facto prosecutor in this matter. Pennsylvania

law does not allow the AG to supersede the county’s elected district attorney in these

circumstances. Although the DAO’s objections to the AG’s participation should

already be obvious given DAO’s and AG’s difference on the merits of whether

habeas relief is appropriate, the DAO respectfully objects here to make its position

explicit as a matter of record.

      Facts and Procedural History

      In 2018, the Third Circuit ordered that this Court conduct an evidentiary

hearing on a single habeas claim: that petitioner’s counsel was ineffective for failing

to present prison adjustment evidence at the death penalty phase of his trial. After a

thorough review, the DAO determined that penalty phase relief was appropriate, and

exercised its prosecutorial discretion not to continue to seek the death penalty. Thus,

it filed a notice with the Court conceding that petitioner was entitled to habeas relief

on his penalty phase claim, and stating that the DAO would not seek the death

penalty in state court. Notice of Concession dated Feb. 6, 2019, Dkt. No. 155 at 2.

      The Court declined to grant habeas relief based on the DAO’s concession,

stating that it would conduct an independent evaluation of the merits and permitted

the parties to submit additional briefing. Order dated Mar. 4, 2019, Dkt. No. 161



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at 1.   After the parties submitted their briefs, the Court determined that “the

presentation of an additional perspective by an amicus curiae, on whether the District

Attorney’s concession is proper, would be helpful,” noting that the parties were not

adverse as to whether habeas relief should be granted. Order Dated May 7, 2019,

Dkt. No. 165 at 3. The Court appointed the AG to submit an amicus brief “on the

issue of whether relief should be granted on Petitioner’s remaining habeas claim

based on the current record or whether the record before me should be expanded.”

Id. at 4.

        In its amicus brief, the AG did not stop at evaluating the record and offering

its view about whether the existing record was sufficient for the Court to determine

whether habeas relief was appropriate. It instead conducted its own in-depth factual

investigation into petitioner’s substantive claim, attached numerous exhibits to its

amicus brief, and argued the ultimate question of whether habeas relief was

appropriate. Brief of Attorney General dated Jul. 22, 2019, Dkt. No. 171 at 12-21.

It concluded, contrary to the considered determination of the DAO, that it was not.

Id.

        The Court then scheduled four days of evidentiary hearings as to whether

habeas relief is appropriate. Order dated Nov. 18, 2020, Dkt. No. 212. The Court

asked petitioner whether the Court could or should (1) incorporate the exhibits to the

AG’s brief into the record, and (2) allow the AG to participate in the evidentiary



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hearing. Order dated July 30, 2019, Dkt. No. 174 at 1. Petitioner argued that the

AG should not be allowed to participate in the hearing. Over these objections, the

Court ruled that the AG could call and cross-examine witnesses at the evidentiary

hearing. Memorandum Opinion dated Feb. 12, 2020, Dkt. No. 187 at 9. On

November 18, 2020, the Court ordered the parties to serve witness lists by January

11, 2021. In response to that order, the AG served a list of numerous witnesses, and

stated its intent to introduce additional voluminous materials into the record.

      On the first day of these hearings (February 25, 2021), the AG adopted a

highly aggressive, partisan stance, questioning the defense expert about such topics

as defendant’s elementary school truancy and seeking to exclude evidence that

defendant’s adjustment, over the intervening decades, has in fact been positive and

aggression free. The AG’s aggressive advocacy on behalf of the death penalty only

increased during its tendentious, still incomplete cross-examination of trial counsel.

Given the startling extent and quality of the AG’s participation in these hearings,

and the absence of the objectivity typically expected from a Friend of the Court, the

DAO hereby objects to the AG’s participation, which has now clearly been shown

to be that of a de facto prosecutor.




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                                   ARGUMENT

      What began as an invitation to the AG to act in a limited capacity as an amicus

has morphed into the AG acting as a full-fledged adversarial party in this matter in

all but name. This is inappropriate because its effect is to override the prosecutorial

discretion of the DAO—the elected chief law enforcement officer in Philadelphia.

Despite Pennsylvania’s clear statutory prohibition on the AG prosecuting cases

under the DAO’s jurisdiction, the Court has permitted the AG to do just that. In fact,

during the first hearing day, the AG behaved in every respect as an aggressive party

advocate. Based on what transpired on the first hearing day, the DAO anticipates

that the AG will continue to develop a factual record and argue for a death sentence

on a case that is under the DAO’s exclusive jurisdiction. This is improper.

      Under Pennsylvania’s Commonwealth Attorneys Act, each county’s district

attorney is the chief law enforcement officer in the county. The Attorney General

may supersede the district attorney only in very limited circumstances. 71 P.S.

§ 732-206(a); (“The Attorney General shall be the chief law enforcement officer of

the Commonwealth; the district attorney shall be the chief law enforcement officer

for the county in which he is elected.”); Carter v. City of Philadelphia, 181 F.3d 339,

353 (3d Cir. 1999) (the Commonwealth Attorneys Act created a “consciously and

deliberately designed autonomous role for its district attorneys,” such that “in

Pennsylvania, unlike many other jurisdictions, the AG has no inherent authority to



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supersede a district attorney’s decisions generally”); Commonwealth v. Carsia, 517

A.2d 956, 957 (Pa. 1986) (the Pennsylvania AG does not have any inherent powers

beyond those explicitly described in the Commonwealth Attorneys Act);

Commonwealth v. Mulholland, 702 A.2d 1027, 1037 (Pa. 1997) (“[T]he attorney

general may intervene in criminal prosecutions only in accordance with provisions

enumerated by the legislature.”). The legislature has set forth four circumstances

under which the AG may supersede a county district attorney: (1) by request of the

DA; (2) by request of the AG if the AG establishes by a preponderance of the

evidence that the DA has failed to prosecute and that failure is an abuse of discretion;

(3) by request of the president judge in the jurisdiction, or (4) in certain appeals “as

provided by law or rules of court.” 72 P.S. § 732-205; Carter, 181 F.3d at 353.

None of those circumstances is present here.1

      Both the Court and the AG have repeatedly claimed that the AG is acting only

as an amicus, not as a party or a prosecutor. Brief for AG Dated Jun. 26, 2019, Dkt.

No. 169 at 4, 8-10; Order dated Jun. 15, 2019, Dkt. No. 170 at 2; Order dated Feb.


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      The AG has suggested (while insisting that it is not exercising prosecutorial
functions) that the Commonwealth Attorneys Act does not govern here because a
habeas petition is a civil action, not part of a criminal prosecution. AG Brief dated
June 16, 2019, Dkt. No. 169 at 10. This argument ignores the clear practical import
of these proceedings. A habeas petition challenges a criminal sentence—here, a
death sentence that the DAO initially secured and has shepherded through all of its
post-conviction proceedings.        The DAO’s sole authority to represent the
Commonwealth in this proceeding stems from the Pennsylvania Constitution and
Commonwealth Attorneys Act.

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12, 2020, Dkt. No. 187 at 12-14. But labelling the AG as an amicus does not make

it so. The AG, with the Court’s permission, has far exceeded the role of a typical

amicus and crossed the line into acting as a prosecutor. While such advocacy by an

amicus is appropriate in some circumstances, it is impermissible here because it has

the effect of allowing one prosecutor’s office to improperly usurp the statutorily-

prescribed role of another.

      Traditionally, an amicus is “‘an impartial individual who suggests the

interpretation and status of the law, gives information concerning it, and whose

function is to advise in order that justice may be done, rather than to advocate a point

of view so that a cause may be won by one party or another.’” Sciotto v. Marple

Newtown Sch. Dist., 70 F. Supp. 2d 553, 554 (E.D. Pa. 1999). While courts have

broad discretion to appoint amici to help them make fully informed decisions, “‘an

amicus who argues facts should rarely be welcomed[.]’” Linker v. Custom-Bilt

Machinery Inc., 594 F. Supp. 894, 897-98 (E.D. Pa. 1984) (quoting Strasser v.

Doorley, 432 F.2d 567, 569 (1st Cir. 1970)).

      Contrary to this traditional conception of an amicus, the AG has done

extensive factual investigation, has added facts to the record, has used its own

investigation to argue the merits of whether petitioner is entitled to habeas relief, and

after one day of hearing has confirmed that its role will be adversarial: in short, that

it is the de facto prosecutor. Pennsylvania law proscribes such a role for the AG in



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Philadelphia cases. Therefore, the DAO objects to the AG calling witnesses and

introducing evidence in the upcoming evidentiary hearings.




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                                CONCLUSION

      For the reasons stated above, the DAO respectfully requests that the AG not

be permitted to expand the record or call witnesses at the scheduled evidentiary

hearings.

                                     Respectfully submitted,



Dated: February 26, 2021              /s/ Nancy Winkelman
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                        CERTIFICATE OF SERVICE

      I, NANCY WINKELMAN, hereby certify that on February 26, 2021, I served

a copy of the foregoing on the following persons by electronic service through ECF:

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Dated: February 26, 2021               /s/ Nancy Winkelman
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